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     Michael A Stephen

      Kelly M Stephen

                                Southern                                            Ohio
      15-53447




             US Bank Trust National Association, as Trustee of the SCIG Series III Trust       5-1


                                                     0 2 7 7                                         10 01    2018



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     Michael    A.            Stephen                                      15-53447




/s/ Katie L. Greene                                            08 10 2018


       Katie                 L          Greene                  Bankruptcy Asset Manager



       SN Servicing Corporation

       323      Fifth Street Eureka, CA 95501

       Eureka                              CA    95501


        800    603    0836                                     bknotices@snsc.com
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 1   Kristin Zilberstein, Esq. (SBN: 200041)
     Jennifer Bergh, Esq. (SBN: 305219)
 2   Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
 3   LAW OFFICES OF MICHELLE GHIDOTTI
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 4   Santa Ana, CA 92705
     Ph: (949) 427-2010
 5   Fax: (949) 427-2732
 6   kzilberstein@ghidottilaw.com

 7   Autohries Agent for Creditor
     US Bank Trust National Association, as Trustee of the SCIG Series III Trust
 8
 9                             UNITED STATES BANKRUPTCY COURT

10                    SOUTHERN DISTRICT OF OHIO – COLUMBUS DIVISION

11
     In Re:                                               )   CASE NO.: 15-53447
12                                                        )
     Michael A Stephen and Kelly M Stephen,               )   CHAPTER 13
13
                                                          )
14            Debtors.                                    )   CERTIFICATE OF SERVICE
                                                          )
15                                                        )
                                                          )
16
                                                          )
17                                                        )
                                                          )
18                                                        )
19                                                        )

20
                                      CERTIFICATE OF SERVICE
21
22            I am employed in the County of Orange, State of California. I am over the age of
23
     eighteen and not a party to the within action. My business address is: 1920 Old Tustin
24
     Avenue, Santa Ana, CA 92705.
25
26            I am readily familiar with the business’s practice for collection and processing of

27   correspondence for mailing with the United States Postal Service; such correspondence would
28   be deposited with the United States Postal Service the same day of deposit in the ordinary

     course of business.

                                                      1
                                       CERTIFICATE OF SERVICE
 Case 2:15-bk-53447         Doc 72    Filed 08/16/18 Entered 08/16/18 17:13:48             Desc Main
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 1   On August 16, 2018 I served the following documents described as:
 2                 Notice of Mortgage Payment Change
 3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
     envelope addressed as follows:
 5
 6   (Via United States Mail)
     Debtor                                              Trustee
 7   Michael A Stephen                                   Faye D. English
     PO Box 241                                          Chapter 13 Trustee
 8
     Barnesville, OH 43713                               10 West Broad Street
 9                                                       Suite 900
     Joint Debtor                                        Columbus, OH 43215-3449
10   Kelly M Stephen
11   350 Warren Avenue                                   U.S. Trustee
     Barnesville, OH 43713                               Asst US Trustee (Col)
12                                                       Office of the US Trustee
     Debtor’s Counsel                                    170 North High Street
13   Kelly Gene Kotur                                    Suite 200
14   Davis & Kotur Law Office Co. LPA                    Columbus, OH 43215
     407 Howard Strreet
15   Bridgeport, OH 43912
16   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
17   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
18
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
19   Eastern District of California
20
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
21   America that the foregoing is true and correct.
22
            Executed on August 16, 2018 at Santa Ana, California
23
     /s / Lauren Simonton
24   Lauren Simonton
25
26
27
28




                                                     2
                                      CERTIFICATE OF SERVICE
